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                                        IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF MARYLAND

              UNITED STATES OF AMERICA

                                v.                                    CRIMINAL NO. RWT -04-0235

              PAULETTE MARTIN, eta!.
                                                           .••0000000 ...


                          MOTION TO WITHDRAW AS COUNSEL FOR THE UNITED STATES

                         The United States of America, by and through its undersigned   counsel, hereby files this

              motion to withdraw in the above-referenced      case. Assistant United States Attorney Adam

              Kenneth Ake has entered her appearance as counsel for the United States.

                         Therefore, Assistant United States Attorney Bonnie S. Greenberg respectfully requests

              that her appearance be stricken from the above-referenced     case.



                                                              Respectfully submitted,

                                                              Rod J. Rosenstein
                                                              United States Attorney




                                                        By:        /s/                         _
                                                              Bonnie S. Greenberg
                                                              Assistant United States Attorney
                                                              36 South Charles Street
                                                              Fourth Floor
                                                              Baltimore, Maryland 2120 I
                                                              410-209-4800




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